       Case 5:18-cv-00496-FJS-DEP Document 16 Filed 06/14/18 Page 1 of 1




JOHN G. POWERS
(315) 565-4547
jpowers@hancocklaw.com

                                          June 14, 2018

VIA ECF ONLY

The Honorable David E. Peebles
United States Magistrate Judge
Federal Building and U.S. Courthouse
Syracuse, New York 13261

        Re:    John Does #1-5 v. Syracuse University et al., 5:18-CV-496 (FJS/DEP)

Dear Judge Peebles:

       We represent Syracuse University and its individual officials sued as defendants in the
above-captioned lawsuit (collectively, the “University”).

         The University writes to request a Court conference pursuant to Local Rule 7.1(b)(2) to
discuss the implementation of a briefing schedule for a motion seeking to require Plaintiffs to
comply with Fed. R. Civ. P. 10(a) and Fed. R. Civ. P. 17(a)(1) and to correct the case caption to
identify themselves individually by name. The University’s position is that Plaintiffs cannot
satisfy the rigorous standard for proceeding anonymously set forth in Sealed Plaintiff v. Sealed
Defendant, 537 F.3d 185, 190 (2d Cir. 2008).

        We have recently conferred with Plaintiffs’ counsel regarding this issue, as required by
the Local Rules, and they have indicated that they will not agree to amend the caption to reflect
the actual names of the Plaintiffs. Counsel for the University is available at your convenience to
discuss this matter further.

                                     Respectfully submitted,

                                    HANCOCK ESTABROOK, LLP




                                         John G. Powers


cc:     Counsel of record via ECF




{H3354347.1}
